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                       UNITED STATES DISTRICT COURT
                                              for the
                                   Eastern District of Kentucky
                                         London Division

Ronald Hall, Sr.                                       )
      Plaintiff                                        )
                                                       )
v.                                                     )       Case No. 6:17-cv-00149-KKC
                                                       )
Equifax Information Services, LLC et al.               )
      Defendants                                       )
                                                       )

     NOTICE OF SETTLEMENT AS TO DEFENDANTS LVNV FUNDING, LLC AND
                   RESURGENT CAPITAL SERVICES, L.P.

       Please take notice that Plaintiff, Ronald Hall, Sr., has reached a settlement with

Defendants LVNV Funding, LLC and Resurgent Capital Services, L.P. Once the settlement is

final, the parties will file a joint dismissal with prejudice. This Notice does not affect, and is not

intended to affect, Plaintiff’s claims against any other Defendant in this action.

                                       Respectfully submitted,

                                       /s/ James H. Lawson
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                                      Counsel for Plaintiff
                                      Ronald Hall, Sr.


                                CERTIFICATE OF SERVICE

       This is to certify that I filed the foregoing via the Court’s CM/ECF system on this 26th
day of April, 2018, which will send a Notice of Electronic Filing to all counsel of record.


                                      /s/ James H. Lawson
                                      Counsel for Plaintiff
                                      Ronald Hall, Sr.




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